        Case 1:15-cr-00095-AJN Document 2815 Filed 04/17/20 Page 1 of 2



                                                                                                      4/17/20
UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


  United States of America,

                   –v–
                                                                     15-cr-95 (AJN)
  James Pilgrim,
                                                                         ORDER
                         Defendant.


ALISON J. NATHAN, District Judge:

       In light of the Supreme Court’s decision in United States v. Davis, 139 S. Ct. 2319

(2019), the Court hereby orders that pursuant to the Criminal Justice Act, 18 U.S.C. § 3006A,

and the discretion of the Court, Stephen N. Dratch is hereby appointed as CJA counsel to

represent the Defendant in this matter.

       The U.S. Probation Office for the Southern District of New York and the United States

District Court Clerk’s Office for the Southern District of New York are authorized to disclose

any Presentence Investigation Report, Statements of Reason, and Judgment to Mr. Dratch for the

purpose of determining eligibility for relief under Davis.

       Within three weeks of the date of this Order, the parties shall meet and confer and submit

a joint letter to the Court indicating whether Defendant intends to file a motion under 28 U.S.C. §

2255 and, if so, proposing a briefing schedule on that motion.

       Mr. Dratch is hereby ordered to mail a copy of this Order to Defendant. If it is

impracticable for Mr. Dratch to mail a copy of this Order, then he should notify the Court within

three days of the date of this Order, so the Court can implement an alternative procedure.




                                                     1
      Case 1:15-cr-00095-AJN Document 2815 Filed 04/17/20 Page 2 of 2



Dated: April 17, 2020
       New York, New York
                                     ____________________________________
                                               ALISON J. NATHAN
                                             United States District Judge




                                       2
